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                                   ROBERT D. LOVENTHAL
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                                              February 14, 2024

Honorable M. David Weisman
United States District Court
Northern District of Illinois

RE: 1:22-cv-02033
   Del Guidice v. All State Insurance


Dear Judge Weisman:

           Pursuant to your order of February 8, 2024, concerning the aem please be advised as follows:

    1. Please accept my apology for not appearing at the latest status conference. My absence was
       due to a defective schedule that has now been taken care of.
    2. Since the date of the order, I have tried to reach Mr. Ruda several times to no avail.
    3. The Plaintiff has no objection to your setting a scheduling order that is appropriate for a case of
       small difficulty.

         Please contact me if you wish.



                                                                  Very truly yours,




                                                                  Robert D. Loventhal
